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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NEW YORK


Emilee Carpenter, LLC d/b/a Emilee
Carpenter Photography and Emilee
Carpenter,
                                                       Case No. 6:21-cv-06303
                    Plaintiffs,
                                                       NOTICE OF APPEAL
       v.
Letitia James, in her official capacity as
Attorney General of New York; Johnathan
J. Smith, in his official capacity as Interim
Commissioner of the New York State
Division of Human Rights; and Weeden
Wetmore, in his official capacity as District
Attorney of Chemung County,

                    Defendants.


      PLEASE TAKE NOTICE that Plaintiffs Emilee Carpenter, LLC, and Emilee

Carpenter hereby appeal to the United States Court of Appeals for the Second

Circuit from the final Judgment (ECF No. 69) entered on December 14, 2021, and

from the Decision and Order (ECF No. 68) both granting Defendants’ 12(b)(6)

motions to dismiss and denying Plaintiffs’ motion for a preliminary injunction,

entered on December 13, 2021.




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      Respectfully submitted this 12th day of January, 2022.

                                   By: s/ Jonathan A. Scruggs
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                          CERTIFICATE OF SERVICE

      I hereby certify that on the 12th day of January, 2022, I electronically filed the

foregoing document with the Clerk of Court and that the foregoing document will be

served via the CM/ECF system on all counsel of record.


                                           s/ Jonathan A. Scruggs
                                           Jonathan A. Scruggs
                                           Attorney for Plaintiffs




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